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                     XHIBIT
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                                                                                                         ~~~~h
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                                                        ACCQUNT APPLICATIt~N
                                                          ~tnclividual Account}
                                                                ~~~~~'




                  ~~~'Ii~33~c~~~~28                                                 _        3~u~      1" Z~3 rn~,`~,
                    ~~            (852} 3920 2B88
                  ~~              {$52)3920 2789                                        ~~ S ~'`~"'~
                  ~~~,            {852)2822 Sb0'i
                    t1~           www.shkf.corn
                  28IF, The Lee Gardens, 33 Hysan Avenue, Causeway Bay, Hong Kong
                  General Line            :($52~ 3920 2888
                  Fax                      :(852)3920 2?$9
                  Customer Service Hotline :{852)2822 5001
                  Website                  : wwvv.shkf.com



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                                                                                                                                                                                            and
               Mom:This is an important dowmeM.You(the'kp~ilcaM')shauld carefully reasi        and fully un~~stand the co~teMs of ffii~ Acco;u~tApplicatlon and depending on ttre aaount{s)
                                                                                            Cllar~t Agreemerrtjs) ar~ei Schedules and Appendiz(ces)(~ any) and Supplements)(if any! thereto
               Uta services {if applicable) chosen by you immediately bebw, tfie ettad~t3                                                                                          far OTC Swap
                                                                                                    Jar SHK03{as de!'inad below)and where appropriate,theTerms and Conditions
               {co6ectively'ClieaitAgtbemsnY) in respsctof SifiKIS,St#SCOM,SHKB,SHKFX                           theAppluationfor Eteclronic Services(as defir~l In Clause {14)of Section G)as
               Transatlions (IrainriduaLs){"t?TC Swap Td~Cs {IndNiduals}'), the OTC SwspAccountAnnex and                                                                                  in this
               weiB as oilier related documents as spedlied by the SHK Company(as      defined Iselav). The foregd~ documan~ are together hereinafter referred tv as the 'Documarttt'.
                                      'SHK  Group"  ~raans   tRe group W companies  comprising   SHKIS,  SHKCOM,     SHKB, SHKFX and SNKOS together with Sin Hung Kat Final Umited
               Account Application,                                                                            the camPanY{'ies) of SHK Group to wfikh this Account App~ca6on is submfHed in
               (`SHKFL'} and SHKFL.'s Suhsid38tis5 arrcl assttaated compandes and `SMK Cotf+1~3'' means     below.Before sigNr~ the Documents,the Applicant should firstseek indepen~nt legal
               rsiation to Uta sccount(s}and the services{if app6cabiajchosen by the l~Iicant immeciatefy end Chinese versions a# this Accottn[ P,ppllption, the Engf~h version shal3 prevail
               ar+d arhar protessbnai advice as necessary. In qse of dis~x~sancies between the English
                                                                                                                         ~~t~.—t~~~~f~~(~,7 ~~~3~#~#.~~1Fr~4~
               ~:dtlilf[~3'Ct~ ° t~~F (~1 ~~~I1.7~~) ~4f~3c1a~l~~~F'~d11~~lAO~FL~




                                                                                           ionary Individual account{sj("Account'}.
               To 5HK Company: Please open and maintain the following types)of non-discret
                                           (Please sss pause(1)of Section G of this Account AppiicaU~n):


               (PIa8s9 ChBck th8 &ppro~iais boxes)~~#~'o~~)
                                                                                      TYPE QF ACCOUNT                                      ELECTtiON~ 8~ OTHER SERVICES
                 GOlAPANY


                                                                                             Cash Securities Trading Accaunt(s}                 Online U.S. securities trading services
                ,C1 Sun Hung Kai (mrestrnant Services Limited {'SHKIS") ❑

                      {CE Number ~              `i~ ~ AAC153)                        ~       Margin Securities Trading Arcount(s) ~ Oniins H.K sacuriiies trading services

                                                                                                                                           ❑ Instruction of fund transfer and stack
                                                                                                                                             trading throucih IVRS (nteracfive voce
                                                                                                                                             response system}
                                                                                                                                                ~~'~.~N.~~iT~~i~[`~~~
                                                                                                                                                ~~~i

                                                                                      D Stock Options Trading Accounts)                    ❑ Online stock options trading services
                                                                                        ~C`~~~c3~L~i                                         ~~~~i~~~~

                                                                                      O Goliectiveinvestrner~Accaunt(s)
                                                                                        ~ea#~~~'

                                                                                      ❑ OTC Swap Account{sj`
                                                                                        ~~F#+~*


                                                                                         ❑ Commodities Trading Accountjs)                   ❑    Onfine futures trading Seavices
                 Q Sun Hung Kai Commodftiss Limited ("SH!(COM')                                                                                  ~~YC1R~~~
                   ~Er ~~~~&~~:~ (~~r~~~~~ 1                                               ~S~~E~,
                   {CE Number~~ ~ AAF237)
                                                                                         ❑   Bullion Trading Accounts}                      ❑     Online bullion frading services
                  ❑ Sup Hung Kai Bu11iDn Company LimRsd {"$IfiKS")


                                                                                      0 Leveraged Foreign Exchange                          ❑ Online keveraged foreign exchange
                  ❑ Sun Hung Kai Forex Limi#ed ("StiKFX')                                                                                     trading services —Web-based version
                    ~~~qE~~~!G;~(~ j~j"j-,7~~yF~~)                                      Trading Accovnt(s)
                                                                                        #~~~4h~3E~,4~F                                        ~~#~~z~4F~3~~,R~~A~~ — ~
                    (CE Namher ~}':~,~ie~ ~ ACi995)
                                                                                                                                           [3 Online lsveragerf foreign exch~ga
                                                                                                                                              ttadGtg services — pownload vstSiOn
                                                                                                                                              ~~#~t#~~JF~3'~~~~~~~ --FMS

                                                                                         ❑ Gid~al Payment Acmunt(s)                         D     Online spot money exchange and
                                                                                           — Spat FX                                              remittance services
                                                                                           ~~f-fF — ~~4F~                                         ~.~~~5F~3~#~kF~~~~


                                                                                         ❑ Global Payment Rccaunt(s)                        ❑     Onlir~ forward money exchange and
                                                                                           — Forward ~X                                           remittance services
                                                                                           ~~fit~k      — ~~4h~                                   I~~9D~5'~i~1s~~~c~~

                                                                                         O Cash~Sacuritiss Treding Accouni{s)               {W'dh online H.K. securities trading services ~
                                               mlted ~°SiiKQS")
                  ❑ SHK flniine (Securities) Lij                                                                                            instn~cYion of stock trading through IVRS
                    ~t~~(~~)~$&ual C ~r~~~i~~)                                             ~~ea~3`z~~
                    (CE Number q~~~i~ ~ AAC483)                                          ❑ }~argin Securities Trading Aa;ount{s)            ~~~~~~~~~~~~~~~~~'
                                                                                                                                            1~C~~c)
                                                                                           ~}~~a~3~~,$~~'

                                                                                         ❑ Stock Options Tradlrtg Acrawnt(s)                ❑     With onI#~e stock optiaris trading services


                   Haase corr+pe[e ma ~ i ~ av~ap r+ca~unc rrrrr~ez.
                   gti~7lt ~~9f~l~li~~f~~
                                                                                                                                  SHK Accoum Application (Individua3}July 2013 Edittan


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                           Case 1:16-cv-09947-VEC Document 13-10 Filed 12/30/16 Page 4 of 36


                 ~i                     l            !                ~




                {2) Does itre App!lcant confirm that his/her persona! data have not been changed and give consent to use the personal information maintained in
                    e~usting sccaunt(s}(with aa~unt no. meFltioned above)for this account opening app~icat~? (If yes, please skip Ser~ion A 4uestion 3 - 1 A}
                    ~~~~~~~i~/~B]~.l`~+t~#i`~~~~ii • ~I~~i~t~~~~~ph1i~J.3dE~l~f`€~P~F~~~~? (#tA~ ° ~i~AI~P~,~s - ta)

                      ❑ Yes ~                        ~No ~




                Personal In#ormation ~,b3i#~                                                                                            /~                      ~                                                                  r^                                     ~ }~
                (1) Name (in English): MrM1rs~N+(                                  Ms'               Surname :                          LY7                                             Given Name :                                  d~i!/~      f,~~N~'(                ~~~

                      `Please Mete as appropriate ~$~~~i~~~


                (2) Daie ai Birth:
                    ~~p~                                                                   ~       ~                       Nafianatity: ~~~ N~ S~ Identity Card or Passport No.:
                                                          Dote)           ~+~+;A)               mv~~)                            ~~                          ~ffl~

                      Ideritiiy Oacument Type: Q HKfD                                                     ❑ CNID                                ~ Macau ID                               p Passport                               ❑Others(Please specify}:
                      ~fs~as~'ci~~P~J            ~~~ifl~                                                    ~~~t53€~                             ;~P9~t53~                                 sue..                                    ~{L~ ~ n~a'~~)


                {3) Marital Status:                                   ❑ Singla                           ~ Married with child(ren~                                                       ❑ Married wi#tout child                                          ❑ O#hers
                    ~~~iR                                               ~r                                 8~~~~z

                {4} Education bevel:                                  ~ Primary                          ~ Secondary                                 ❑Post secondary                                                              Q University ar above
                                                                                                                                                                                                                                    ~~~1~~


                (5) Residential Adtkess t~i~t -~easa~Yiae addresso~ wan,n ir,e recem 3 ~nntns ~I~S#h~sieAeti~?~ttfl~~

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                      l til         l Inl             I ~i U i       4    1    t 1      I   1                     i    I   i        i           I ~it~`,jhfll.~i     I    I   1  1                                I       I       I        I I    1   I     I     1 ! I            i    i   l
                                                        No.aria Nsme m seeec nf~l~tla3f6i3$~f                                                          `         aetrta 5i~„uoa k~                                                                              c«,wr s'+R

                      Nature of Occupancy ~~'~R1
                    X~ Owned ~~                                       D Rented ~~                         ❑ Family property ~.1~                                                         ❑Quarter ~$

                      ❑ Others(Please specify} ~if~ (a"i~~)


                        ermanent Address ~'k~~3~t
                {6) ~P~~/
                    ,[~] Seme as residenfial address ~t-~ta}~(s~
                      ❑ OtherwiSB. pI$ase Speafy Z~fi~t~`I~l'~~ti9 ~ (P~a~ v~ae aad~s a~~,in u,~ ~,t 3 n,o„a,s ~i~~t~~3~Amt~t)

                      W W W 1                                                  ~       i       i~    i        i       i~       i        i        i     i    i   it          i       i        ~       i       i        F       ~        i     i    i   i~          i   i       ~    ~    i   l
                          fiat~             Fuw lt! d7ock ~R                                         tlou» M18u7Sn9 ACA                                                                                          8sleb 1i$IL~arden fi■

                      1     ~       i        i   i    i      i    i        i       i       i    i~        i       1    I   i        i           II     i    i    t     t        i        i       t       i        i       i       i        II     i   i     i    i~           i    ~    ~
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                                                                                                                                                                                                                                                 ~8~3) 6643.c~¢
                ~~} Home Tei No. t~~1@~                                                    ~J L                                                            ~s) Mobile Phone No.~ 9~~~~ : ~~                                                                 ((o /~L`~


               (9j Employer (ff self-employed, please state "self-employed" and the relevarrt tradingJcampany name)

                      t~~ i~n~~4i[ ~ ~i~fs~~ ~ ~t~~ 7~~1~9A~~"~/~~~,~) :                                                                                   Nt C..
                      tJature of Business of                                                                                                                         ~~" -' ~                              Years of Service with
                      Employer i1~~        ~:                                  ~ ~ L-                                              Position X11:                     ~    p "~                           ~ Empbyer ~       ~~~:                                                   N 1L


               (10)BusinesslOfFice Address ~~/~41
                                                ^.f~t1~ :                                                                                                                                            Tel No.                      5~~ ~                    N ~ l..-
                     j~(1L



                                                          rm. ~,a damea~;nl~le6a~lian¢                                                                                     o;~Atva i~a                                                                          ca,.,ar ~~k


                (11)Fax No.:            N (~--~-                                                                                                      (12) Email Address: Cn~,,/1Q.}~f~~(w'"~T~y~~ t
                    ~~~~i Residarifial i~~/Business 9F3~'{•Please rha~.e                                                                    ~              $~~4~i~tat              it



              SHK Accos~nt Application (individual} Juiy 2013 Edition                                                                                 0


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                  (13} Corcespondence Address il~il~3~
                     ,~ Same as residential address ~{~fit#$~                                                                                    ❑Same as busfiess/o~ce address ~~;~/~"i;i~bfdE~~]
                       ❑ Other address, please specify ~1tb~3~ ~                                             ~~

                                                                                 i       i       i       i        i        ~       i     i   i     ~ i       li       ~       i       i        i       i       i       i   r   i   i~    i    i   i~        i   i   i
                       WW W I                                    i       ~
                                                                                                 rw~,ca n,~ew+e~,a j:.~                                                                                    r~,aza ~ta~~w~ rcz
                         F~ ~        ~o« MNNt a+~m~ a6

                                                                     i       i       ~       i       r        i        ~       i       iJ i        i     i   i    i       i       i        i       i       i       i       ~ J( w   i    i    t   i     i   i   i   1
                       L i       i    i   i   i      ~ ~     i                                                                                                                                                                               ea.,m ag
                                                  Ho. aro r~a.,,e crs~ee~ r7.~t~YSW4                                                                                  o~ara s~nrea m~




                  (14)Language used in ar~d                  Email"'~~B'                                                                                                          D English ~p~C#~~i                                     ❑Chinese ~3~~Hi
                      method of delivering
                      contract notes, daily                                                                                                                             email.
                      manthiy statements of                  If you choose to receive electronic account staieme~ts, you can read your account statemanfs through
                      account, c~firmations                  Accordingly, in the interest of environmental protection, you will not receive account statements by post.
                      and the Hke
                                                             ~n~.
                       h~3~L~ ` ~~~~A~'t

                                                                     By post to correspondence address`s                                                                          ❑English ,23~~`lii                                          Chinese Gp~C~(ii
                       3~'(~~ff~fib`$o,~z~~
                       ~:~                                           i~i~3.~11}••

                       `Please see Clause {9){i~ in Section G


                                                                                                                                       YOu dgree to comp181e antl sign such tuMBr Tofm {e.g. an Appikatlon for
                        K you ctv~ose to receNe CanbaC ~mtes, dally & rcaMhly statements M account, caifirmaYions aid the Fk6 by email, awn time b mne.
                        Ekcboni~ Serrces(as defined in Clause(14)d Suction G))as rtmy+be subsequently required by the SHI( Canpany                                                          1
                        ~~F~1!#r~i6kY$~3EM~~E ~ Pk~'Q               $A#k~ ~ aR6~~i~t'~.YCi~ • GB-Fla'~~1Rr`C'$        Ik~,'3~'i`~aT~~,'f$~G'a~~43@#S (ANSI ~ ~~~+~q3~3 tR~$4G ~gg41d?~E) ')


                      '• Note: The conVact notes, dally &monthly siatemanw of account, ca,r~aor~s and me i~ wa3 oe sane m me emat~ aaa~«ss{as) as des~~ted h aem (i2)of saatrn, a (or wnera
                                                                                             Coma^Y). H ynu woWd Gke to recetva tt+ese doaiments CY Fes, Jan m agspl~cable legal anG regulatory
                          a~l7irabie, fhe Iate& ernai address{es) ypu have na~od the rede+ranS SHK                                  SNK Cam,7aM'et any dme and from timq to rime withwrt pry notica. For
                          reque~emants,the rdeti~arrtSHK Comparry met~N~ m reasonable fee which may ba ameixled by the re4erarrt Company a on the website of me relevant SrrdCC Company.
                                                                                                                                 SHK
                          details W the said fee, please r~x to the fee schedule attumpanying Um CGeM Agreement of iha relavar~t                                              =     • ~7tH'F~S~~S~B~
                          ~ ~ ~f3Z~[8t • 41Ffiei~1R~A~l ~ ikTe~T~S~f3YRkNE*;~nit2)$ifi4#G~dh~iEi~at (°.zyt~ • A9'Fz~S9#@I~~ir~ ~'i;~3~~➢,4~97l~i~At) 4:4tTa
                          ~ 7~1Nt~~t4~3LY~'~f~1~5E"~tPi~r`,Y~At~k`~Q~'~SK~F' .~~G~°IF7AA'Fu3C$sta33~~ • ~1~Ytf%4~4^~aJ~~$~`~~EIfT~9P~+ ie~Qi~,~i*$T~3i7•fi~i$~'~k~7S$111
                          t~F~~A6*,~r~~~r➢i~'u`~~J~~Eg:#~1~C`r?#~~;yn~89~ft'1~!€




                                                    f <SZso.000
                  t~s) Annual inco~r,e (rttc$)tN~,: ~—                                                                                 D s2so,00~ -5soo.000                               ❑ seoo,00~ -s~,000,000                        O > s~,000,~o
                       ~~~it.1 {J~~Tc~1- > c~~>

                                               ❑ ~$so,000                                                                              ❑ sso,oa~-$2oo.goo        d s2a4,ao~-s5oo,00a        ❑ $506,007-$7,ono.000
                  {16) Net Assets{HKS){tioc~):
                       ~~>~f~ (1-~~nat) c~~*> ❑ $1,~o,aoi-gs,oao,~o                                                                    ❑ se,aoo,00i-S~o, 000,000 ~s~o,otro.00~- san,noo.oaa ❑ >Sao,ouo.000


                  (17} LigUld AS&eY5(HK$)(Nate6):                    ❑ s $50~OD0                                                       ~ 550.001- $200.OD0                            0 520Q~001• SSQO.00D
                       .6~~ (1-x~n~t> c~r> ❑ ssaa,00i-~~.000.000                                                                       ❑ 5~.0oo.00t-ffis,ocm,o~                       J~>gs.000.00~


                  (18) Initial Source{s) of Wealth ~~TJ~~~t~
                                                                                                             f~Sav(ngs ~~                          D Business income                                                                ~t~~
                       D Salary and/or bonus ~'r~Xz/~~e~I
                            Return on investrnent #R~p~d                                                      ❑ Radrsmentfunds ;~{~k~
                       ❑ Inheritance or gift i~~~~'~                                                         ❑Others (Please spseiry) fifth (~1l~~)


                   {19) Ongoing Sources} of Wealth #~~~~~
                       ~d" Same as initial Sources) of Wealth ~~~A                                                    's '.~~7
                        p Others(Please specify) ~fi~(~)


                  (20) InifialtOngaing Sour~(s) of Funds ~~T1/#~~~~~~
                      (a)MeansofLundtransfer(s)~~ ~~5nz~
                              Cash ~$                    Q Telegraphi transfer'~~                                                                                      Cheque/Bank draft ~~/~iT~
                          ,~ Others(Please specify)~1~ {a~#~~) :       1i1~ _ ~~~ ~ f7~.in

                        {b)Country(ies)of Origin{s} ~~3~~~
                                                        ❑Mainland China q~~d9i~Macau :t~~`}             ~ Singapore ~t~Jpf~
                           Q Hong Kong ~~
                           ❑ United States ~~           ❑Canada 11A~~           ❑Others (Please spec+fY) ~'f~ (~$~~9) ~ —




                   Note: Please cfiaose orte of the options oNy
                   ~_:~Fl~~~4—~ii



                                                                                                                                                                                               SHK Account Application (Intlivitlual) Juiy 2013 Edition


Gonfidentiat pursuant to Securities E~cchange Act s.24{d).                                                                                                                                                                                                  SEGHKSFC-E-OOOII268
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                                                                                                                                                                                        ~    ~r:.   -



                ~S ~~7~IC3I1t ~w
                               ~}~~q -

                {1 j a senior officer ordirector of any {listed) c~ntpany whose shares are traded on any exchange or market?(If yes, please specify tfie company name
                     and stock code.)
                     i~{7~~f5}~52~i~'"i~rr~~~l~J(~~)i:~~r~~~~i~ ? (~ti1~ ' ~~H~'c:aJ$~~Sc"f5}~ii~i °
                     ❑Yes        (                                                                                           ) ~No~
               (2} a person li~tys$d by or registered with ttts Hong Kong 5ecuriUes and Futures Commissian" or an employee of such person?("Kyes, please spec'rfy
                   hislhsr CE No.)
                      >~~TS't~~~~~~.l~~s'~$$J.t"a'6~~t~S~~ ? (",h7r~ •s`r~'c~$b/~~Jq~~iiFi ° }
                     ❑ Ye5~ f                                            1 .P~No u
               (3j a relative of the lnvestrnent Consultant responsible for the Applicants AccounF(s} to be opened with SHK Group? (tf yes, please state the
                   relationship.}


                     DYes~(                                                                                                  ) ~No$

                {4) a U.S. citizen, a green card holder or residing in the U.S


                     ❑ Yes~ ~No a

               (5) bom in the U.S.?
                   tG"~ti'.~'~~ ?
                     ❑ Yes ~ J~No ~,

                IslAre p)the AppiicaM; andJor (li) spousE, partnar, ct~iid(ren) andlor parent(sj of the Applicant; andlw (iii) spouses)or partners)of the children)of
                the~Aqpplicant; andlor (p~iqv) d.+,
                                y.                        /yc~i~a1te{s}"
                                                  ose/~asso           '.,c~~o
                                                                            yf~,the~yApm
                                                                                       plicank ~+. .,/,,. (~~+/y~,~p a ~          q~q~ q~
                                                                                                                                        ( ~ }.~µ`
                ~I~ tSi~ v ~~:G ~il~ FSi~~G~49 ~ ti`'ICI' ~Y./X~=J4XH' ~ 1~~.",K, ~III~ ~~~7C ~`~IW:JGIt iCt + IX~.CR ~IV~ 3'.'k"'d~wLf 4T.~b1G`JhM~~

                {6j enUusted witty prominent public functions (e.g. Head of State or of government, senior poiiticiar~sfimportant poI~tical officials, senior
                    government officials, senior judicial ofiiciais, senior military offklats, senior executives of state owned enterprises or religious leaders)? {if
                    yes, Please spsciy.)
                    ~'~f~~~~x1   ^..~ ~'(~l~it ~ ~~~~~~f7t'~ ` ~~.ct~Si~ ~ 7+~i~~S(F(i~$ ~ 7w'aJr~..~~ • ~~$t~6 ~ ~~'it`~i6~iiu"S~~~n:~4t$~#~)?


                     fa Yes ~ C                                                                                               ) ~No
                      ~n a Person k a `close associate" of an indivdua!'rf tl» peroen to
                         Sq#J.$#~1XFf@AA9 ~ E*J.&P1E~~EiS~J. { ~~i~.l) ~~c~til97.1
                         (a)~ individual who hes close business retaiions with the first-mentioned indiv'rival. irdudirt9 an Individual who is a beneGdal o~vnee of a legal person or Wst of which the
                            Rrst-mentiared indiv~duai is also e beneficdal owner: m
                             ~1.~~~a'~~A~~A7~f~9~J~J.(~'~~~dJ.~3E.~.lP4i€&E97~#~8i~1.94t6~2F ~ ~#€f'#k`~[~>~.,lp'ef~Cfl~~7t~#it~3J.95ti~1. i
                         @)~ kidNWual who is th8 beneli~l ox+ner of a leggy perv.,on a mist Mat is set up tar the benefit of the first-mentioned indirdual.
                             ~.l$1l3bi%J.~i~"s6'3x~iA9§~A ~ rl6E~r~,J.~t6~E~~"3i~S~il[9~3~tTutuSiA9




                (1) Is your spouse a margin Gient of any company of SttK Group? (if yes, please provide details.)
                     ~~J~A<1~t'1~i~~?~5`r~~,~f~{7'~_`.=a7~'J~~~~ ? (~1~ ~ ~#f#t'f ° )
                     ❑ Yes ~(                                                                                                ) ;~No

               (2) Da you alone wjoin#ty with your spouse control 35°h or more of the vaGng rights of a corporate margin ci{ent of any company ofSHK Group? {if
                   yes, Please provide details.)
                                         s~~~i~~s~~.'
                     ~~~.~i~~13"~''~~~~.n~°        ' L~171ti               ~~35%~°~.L~~`J~c%~.~`? ~~I~''a~'a~'~.'u'''~° )
                                                           i a~~`J —{~~~1~~°

                     ❑ Yes ~(                                                                                                ) ~~

                (3) Is iha Applicant, or was the Applicant at any time during the past 12 months,directly or indirectly {e.g. through a body mrporete), v~hether or not
                    togetlrer with other persons)and/orentily(ies), connected or assoaated with arty director (Including any ex-directwwithin thg past 12 months),
                    chief executive or substaritiai shareholder` of any company of SHK Group ("connected Person's"? (tf yes, please provide such Mails as
                    requested by the SHK Company.)

                     t7~;pJ~]f~T73e            c ~#n~~+=i~A ~~~o~~) ~ ~~i~~~~~'~~fr~~ t '' ~~~.,t.f., )-,? (#H!~ ~ ~#~tr~~kP7~h~
                     ~'s~h~t~
                     ❑Yes(                                                                                                    ) ,~No~

                     'S~batanYla!aharehdda{rtreans, in relation to a tympany. a pesos x#n is antitlaC to emscise. tra cow tt~e srerdse ot. 70%ar m~e of th> vof~ig pavei at any genera! maetirg of that wt~pany.
                     `'~~9flI~ r'~ ~ D~—~0La7tTa'~ ~ fs1~At~%U`~5,'a      °~~ffi7P~it:r@i9'iEfi78E ~ ~iAT@~Jfirtk ~ ~assef::.l.t23~~➢t~=
                    "Ezampies of Conn9cid Peason include a spcwse. child pegiUmata a sat reriural w adaptetl). step-child (legitimat8 or not, nsh,ral or adaPted)~ Parmrt. iztlner-ir-law. mdher-'vrFaw~
                     son-M-law. daugt~ier•irWaw, grandparent, grandchild, une~. aunt, Fusin, brother-iMaw, sistor-erlaw. nephew srni niece of me above-mentimad director. ez-0irwtor. chiof executive a
                     suasra~itiat shatehdder:a Wsfee o!w tw any of the foregoing persons and a partrsr of ar~y of the foregairrg parsons{+ncluding any atorosaid 4vstae).
                            ~4J..t~~II#~~;E#~ ~ li;~# ~ i~rk~ffi~P~~ ~,2~4t ~ -?-~c {fi6i~~W>7c • ~Sk4~lt i - il~~c (~t`i£E€fix ~ l4~z~~)k4• ~~9hk~ ~ ~,~rB]~~
                        5Li$,9hiw~~-.~i.-pt~~ ~ ~3i9t~e ~ Si~~  ~R~#EiR ~ 1~R~4S# • ~"e,-'~?
                                                            i~bd1                            • S'~k7i~i~ ~ ~t~A97R~'.~Rf ~ 1x~:Z~~S#E9~3c ~ fEf=3K7i~.Lt64~Z~f~f~3~1i~J.t99~'o-..
                        J~~tisI➢SRLXS/mot ? ~#~t~1+IRT:6t~cv~J~) k9P~). °



              SHK Account Applicatian (Indivfdualj July 2013 Edition

                                                                                                                                                                                                        SEC-HKSFGE-0000268
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                  (1) Gapaci#y of the Applicant ~ .l~~t~
                                    a. the ultimata 6enef~ciary of the Rcwunt and transactions("ultimate beneficiary")                                             ~Yes ~            ❑ No $
                                   ~   (Nwrna~y sMK cxoup wo+dd noc accept an npWicant wno is nna me untt~nata nenarwiary.)
                                       ~hF~Ft'~~nfl^J`~~'~~~rS~A C ~~~I.J)1
                       is the          c ~fr37~~~—A~11F%~~tfs~~~~~b~*~~.l~~~iJ, ~ ~
                                                                              insWctions (trading andlor others)for the Acxount?                                       ,~ Yes ~$     ❑ No ~~
                       Applicant    b~ ultimatsly responsible for originating
                                                                           of pP.(SONentliy vltimscely reSpPrtsl6ie ~r migirreting #rs instniction in relation ro a transectian'.)
                                       ('Please cOmpiSte SNK Group'S'Oedsratlon

                                       t • E]it~FE~3+~9§ ~i[k~lti~~13~~~%r99Af/91[~~lC~§~ _ ~
                                    c. the only persan with autharity to operate the Account?                                                                      ~ Yes z`~         D No ~~
                                       ("Pitsace complete `Third Party Authorisation - Individu9l or Je~int Accotatl'.)
                                          —~~~~~~


                                                                                                                                 {under the Warne of the Apptacant).
                  (2) Details of the Applicants bank account far payment of money (if any)by the SHK Company to the App~ccant
                      7t?~~tr~~~;~~f~fitf~fil~ t~]~7 ~~~.l~n- ~i~~#(~kt~~.l~#~~)
                                                                                                                                          bank account below shall
                      Further, the Applicant hereby agrees triat if this Account Appticatlo~ is approved by the relevant SHK Company, the
                      be used to receive paymsnts {if any)to the Applicant in accordance with the Documents.
                      ~~ ~ ~it3~(A7~ ~ ~s~~~~i~€#~r~~!ca7~f#~:~ • J~~F~rt~#~Ji~A#~~'tt~#~'~~~iJ.~hmc~ (#tA~~~)



                                             ~~f       T (A.~~S~y                                                         Bank account no.:_                           ~ 2~ ~~
                       Designated bank:
                       ~~~n                                                                                                 n~


                                                                                                                                                     `4~
                       Name of bank account holder.            r~~       ~~~ ~~~~                                         Applicant's signature:
                       ~17#~~l.~~i                                                                                        ~~~~




                                                                                              Proposed Settlement Limit:          HKS                                                  ~~z
                     For Cash Securities Trading Account
                     ~~~~~~~~                                                                 ~a'3~t~*~~~
                                                                                                                                  FiK$          ~ ~,.~~ f ~O^                          ~~y
                     For Margin SecuriBes Trading Account                                     ProposQd Credit limit:
                     ~~~~~~~                                                                  ~s`'~~~


                                                                                              Overdraft Inferest Rate 3~#~x~J~ ~ i ~ ~          %plus prime lend'+ng rata ~p~~+~~

                                                                                              Security °Jo Limft #~#~ ~°!a
                                                                                              {Acceptanc~lMarke #~~~   r~i{~)

                                                                                              proposed Position Limit             HK$                                                 .~7L
                     For Stock <3ptions Trading AccounR
                     ~~~#If~E~~F                                                              ~~~~~~

                                                                                              Othel'Temts ~1L~4

                                                                                              Proposed Position Limn              HK$                                                  ~7t
                     For OTC Swap Account
                     ~4E~~                                                                    3~t#~~

                                                                                              Other Terms ~1~~

                                                                                              Proposed Position Umi#:             HK$                                                  ~n
                      For Cammadit3es Frading ACcouM
                     ~~~~~                                                                             ~s~
                                                                                              omen terms ~1Wt~

                                                                                               Proposed Position LimiC            US$                                                  tic
                      Fa'Bullion Trading Accourrt


                                                                                               Other Terms ~4~{

                                                                                               Proposed Position limit:           US$                                                  biz
                      For Leveraged Foreign Excttanga Trading Accaurrt


                                                                                               Other Tatms ~i~t

                                                                                               Proposed Posttion Limit:           US$                                            ~ 7c
                      ForGtabai Payment Account—SpotFX
                      ~~l~~F~ — ~ACSF~€                                                        ~~#fi~6~c~

                                                                                               Proposed Posilion Limit:           U&$                                                   ?L
                      For Global Payment Account—Forward FX


                                                                                                             5                     SNK Acoour~t Application pndividuai) Juty 2Gt3 Edition


ConfiBential pursuant Yo Securities Exchange Ack s,24(d}.                                                                                                                             SEG-HKSFGE-0040270
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                  have read and fully understood the contents of this Aunt Application and tfie Client Agreement and agree to be bound by them.

                 declare tha#(am nat currently employed by any licensed or regisiered person to carry on regulated activities as defined in the Securities and
                Futures Ordinance(Cap.571 0# the laws of Hong Kong}(the "prdi~ance"). Otherwise, 1 understand that i am r~uired to provide in SHK Group
                written consent hom my employer before i can open and operate an at~count with ShlK Grasp. I undertake to promptly notify SHK Group if i
                become or cease to be employer! by any licensed or registered person to carry out regulated activities.
                ~G~~~~~.~~'`--t~~~xi~f~`i~{7#~~~~i~N81~1~~~ ~~a~J~L~I~1~f~~ C ~~i~571$) C ~~$~I~ 1 ~~d~Jx~.~'na~~b ° ~~N'~.l
                ~~~~:~laJ~fr~A~~IE~~~~J~{J~~~`7~~7~b~fi-~a7~'~f~~~~~~~'f~~'° ~J..~s§"53d1~,1.iV~~tT~~i~~~0~fi~'(7#~Y,~.l~~{~.1.1x~,E

                Naie:A licensed person meansa Rcansed corpcvatPon lk~r+sad ceWer tlm O~~nancs- A reglsteratl persan meansa registeretl insfituiion registered u+rde~ fhe Ordinance.
                ~~3:,~fh`iC.(tS~I#~flAl~$/,~FA~~}€.SlS~~ ^ t#BB~(J6/~BtYkF'1~l#fl9A~Li~rfa'I~

                Further, i confirm that the Risk Disclosure Statements, Risk Disclosure information {if apptirzble) and US Trader RDS 8~ Info (if applicable), in or
                accompanying the Client Agreement have been proved in a language of my choice (English or Chinese) and that I have read, understoori and
                accepted the nature and cro~tenis ttter~f.!appreciate that they are not anc canr~t be taken as a comprehensive or exhaustive list of all possible
                risks. I confirm that I have been given the opportunity to ask questions and take independent advice if I so wish.

                a (~jt~~~C1 ~#~$~h ~ 1~~J~B~~F ~ ~p~i!#~~~/~~ (~s~i~)f~~1d9~ ° ~~~d G~'9~~~n~T~~~f'~~—fS3~~~~t~

                In ease I execute this Atzount Applicatian net before a SHK Group staff/SHK Group licensed representative, or in case t execute this Acxount
                Appli      n in atxortf~nce wikh any non-face to face procedures as may be psrmitted by the applicable laws andlor regulatory requirements,
                confirm that I am aware that {i) SNK Group w11 contact ma via.telephone cal9 {"Folbw•up Calt")to explain to me fhe Risk Disclosure Statements
                and, if app~icabia, Risk Disclosure Information before permitting rr~ to trade under any account to be opened under this Account Applicatlon and {ii)
                if I da not confirm that I fully untle~stand and accept the relevant risks during such Foilaw-up Cail, i can immediately withd~av✓ this Account
                Application and have this Account Appl'k:ation and suppatting documents returned fo me.

                ~l~~t`~Jf{.~~~' c'~~~En'6~,).'3i1~x{i)~E~~.~i~~E~',~~~~~1~J~~F~3a~1T~~n~1' ~fi~~~1~~~~).t ~$~a~~
                ~~)L1~'~~6~~~Ti~~7~t~d~'~E~`~~~(~):{ii7~~~.~~~~T~~a`~).n~~~~#~€~~~k~Jl~(~['~).~L:1~~1~>~~6~~
                ~~iOlt~~°tF~~e75~#9~#~Xt"r
                Far Cash Securities Trading Account{sj and Margin Securities Trading Account{s)Oniy
                Ri~~:~1~~3E~$~~$3~~l~~3~~i11~~
                 also confirm that the R1SK5 OF TRADING IN EXCHAhlGE-TRADED STRUCTURED PRODUCTS (e.g. Derivative Warrants, Callable Bulf/Sear
                Contracts)and RISKS OF TRADING IN SYNTHEi"IC EXCHANGE TRADEp FUNDS contained in the abave-mentioned Risk Disclosure Statemerrts
                have been explained to me and (have undersiaod the contents thereo#.
                ~~$~"~'~G~~t~`.Lx~~~t~~~~~ ~~~~~~f}~~~~~'~~c~~fl~=~ ~{~~tA :'f.J`~~`                - 'A sa) ~J—~~~~,~~ ~ ~~~Ah~'3~
                                                                                                    ~
                ~nC~f~~~~fiS~Fa~~ .~                 '.~~~BP~E~~t~9~r
                For Online Sscurities Trading Accaunts(US Trade} only

                {I) In addition. I have received the agreements of the Informatian Services Provider{s) has definers in Clause S of the Supplement to Sixth Schedule
                to the Client Agr~sament of SHKIS)listed below ("tSP Agreemerrts")and have reed and fully understood the terms contained thsrei~ and agree to
                be bound by ail the terms of the appiicaWe ISP Agreement(sj. (il) I have received the US Trader Antl-Money laundering Undertakings,
                Representations and Warranties and have read and tuily understand. arrd hereby undertake, represent arrsi warrant to SHKIS in, and agree to, tfie
                terms contained therein. {!ii)1 consent #rat SHKIS may, at my oum risk, send my Access Codes(as defined in the Cifant Agreemsnt of SNKIS)far
                US Trader to my email addresses)specified in Section A of this Aecaunt Application anti I understand and accept ail the risks associated with the
                sending of my Access Codesfor US 7r~er to my aforesaid email adrlress(es)(including, without limitation, the risks arising from the unneliabie and
                ptd~lic nature of the Internet which may cause incorrect infwmaSan transmission or loss of conftdentiaGty of the information transmitted).
                ti)~~ • ~h~~~J1.;t~F~r~g~t~~~~9~~ t~.~~r)~~~~d'•7~fit~~~f~:.~~Xi~~7s) ~7t~ t ~~~~~9~~~6~~)7~~
                ~~fkrc~~F3~"~~frl~&~7e~ ~ a~C,~f~l~~x~f~k~1$f~~f~#~Ff~~t~~~1F~~~#~"r~9~ ° 0~)~J.~~lii'~1~~~,~X;~C~a~ ~ ?l~~9h'zi`~'~~~
                ~~~n'~~~~~h€~f~s~1~Ck(~~1#~#1I~~~to1~f't~~i~kliz~~ ~ ~~ ~ ~~t~'~i ~ ~tn~~~             ~ t~~p~J.~~ :~t~d~~~.l~~
                ~c~E~ ~ 3~r;~B~#s~pT#~~1.~}~~~#~i~~ (~§~€#~~lP~#fi~9~J~~~~? ~~~~P~F~:i~az~f#r#~~~7~1.~~f~3.~ (-1~~~
                ~)~h'c~J.~f~Xt#~F~f"r~~~S~J.B~J~~t~,#~i~~~~~1~a~8']'if~f~t~#~I&~i~~4Bt3 (—~~~t~) d4#~~~            t~#~i~T6&t~^-[~~
                  ~~7~7~P~cc~~~14~~f~td~~~~~nni$~pTT~i~##~~~5~i~e~iAF{l~llt~~~'s'P~{~~fi~)
                 Tt~ ESF Agr~ments:
                 ~c~~~~s
                  1. Agreements & Disdosures/Equities Non-Professional Market Data Agreement

                      (a) NYSE and Ama~c Terms and General Applicability of Market Data
                           ~~Ji~3E~n~if{NYSEIF~#~~a~~3~~n~"iEAmex)~J1cCP,:r ~~~(~EkYJ~`i~s~~'I~
                      {b) dPRA Exchange Agreemert —Non Pro#essionai Subscriber Application and Agreement:

                           (Last Sale and QuoFatian information for Personal Nan-business Use Oniy)

                 2. Dow Jones indirzs Terms and Conditions   ~r#~~T't1~
                 3. Agreements & DiscbsureslOn-Line Nasdaq Subscriber Agreement
                      t~~~~~/~~r~~~t~~
                For OTC Swap Accounts)Qniy
                4~~b:`~4F+l~f=
                 acknowledge and agree shat aI! iransac~ions cattied out in the OTC Swap Account will be subject to the OTC Swap T&Cs (Individuals) and the
                OTC Swap Account Annex together w(th the sp8~c terms and conditions as stated in the Confirma#ion in respect of each specific h~ansaction or
                other confirrning evidence. i confirm that 1 have read and fully understand ttre contents of fhe OTC Swags T&Cs {Individuals), including without
                iimitatinn the generic risks assocSated with over-the-counter derivative transactions listed in Second Schedule(Risk Disclosures)thereof, and agree
                to he bound by them.
                ~l~G~~~laJ~S:`~9F~~~~~~I~i~3E~ • #1                                      ~~SF#~~1~~I~t~61~~1 (~J.) ~ l~ ~'#5'F#+~~F~fY#~ 1~3~'~~~~irlft~~~9~~r~i~
                ~,~13~~r~~i~~~~~~~~1fP7~ ~ ~J.#'~~@~~~~~dAE3~4F~#~#Pk~~9 ({~~17 ~t~9~ ~'~#~1~~~':~4E?~~#3~fE~
                ~9 (t~.l> fi76~ff~2~,~~~) ~p~1~~F3~~r".T~r~~#6~~~l9~ ~ ~I~~~~~~fr~'7~ °

             SHK Account Appliartion (Individual) July 2013 Ed(fiwi


ConfidentiaE pursuant to Securi#ies Exchange Act s.24(d}.                                                                                                                             SEG-HKSFC-E-000271
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                  Use of Personal Data far Direct hiarket~g

                                                                                                           contact details and age group, eic.~ for sending promotional
                   understand that SHK ~,roup intends to use oe transfee my persanai data (e.g. name,
                                                                                                                   the SHK Group or entities outside oFthe SHK Group
                  or other materials end direct marketing of finanaal services, products or gaocfs to members of
                             their          partners in financial and related services, for which SHK   Group  may receive gain. S}iK Group cannot da so without my
                  which are        business
                                                                                                               objection by ticking the box{es)below, and I can change
                  consent Should i disagree to such use or transfer of my persons data, I would intl~caie my          any can#lic~ing instructlons from me regarding the
                  my instruc#ians at any time by providing written notice to SNK Company.(f SHK Group receives
                                                                                                      prevail.
                  use or transfer of my personal data, the instructions gNen at the latest date shall                                                           'c:AJ
                  ~k~~~ff~~7tt~~~~~J.~Jf3~.i~~ t{~9~1~~ ~                          ~~~t1~it~i~RiJ~) ~~~1~~~;a7~1~41~~~~t~~iN!~~@R[~7
                                                                                                                 J.I~~ia~~~{~~~.1~7~J.i~f
                  i;~f'~~.~.#t~f~~38~iN!~~J.~~~~3~ ~ ~~,~'i&~ ~ rTn~i~~~~Fliatt~i€~~~ ~ tr~~i~#~~                       ~ t~f'~ft~i~~cjt#~T ~ f~h?~~
                  ~~~~I~~c~.l~'1i~.~~~{~~~~~$ ~ ~J.#&ff.`b~-F~#S~#T ~✓~ b~,Tfx ~ ~J,p71;1~l~~~~~C
                  e~~.1.~'JT~J.1~i f'k~~'1L~€~~fii~J~.~CT—~t~ J#~iT'~iJL:.l~tfi~ I3~~Ff~J#~  T~+~
                                                                                                           for direct marceting
                  g' i object to the use or transfer of my personal data by or to members of the SHK Group

                                                                                                                             Group for direct marketing
                          object to the use or transfer of my personal data by or to entities outside of the SHK
                         ~.l ~~i~.t~{~.,1"9f~#t~i~~~1E~91X5Fkh'c:~7~i'~~#~i~~'i~1'c~~~~~4'
                                                                                                                        type of invesunQnt, insurance, foreign exchange, lending
                  Financia{ services, products or goads include but are net Crnited to tfiose relating to any
                  or other re(atad areaa

                                                                                                                                  Data Schedule of the attached Client Agreements]
                  F~ definitior~ and detalts ofthe SHK Geoup's persaial data policy, p4sase refer to the Personal
                  or subsequent amendments {'rf any).
                                                                                                                          (#~1~)
                  ~~ft?k~~~l~~;,~t~~J.~~ls~'NF ~ ~~I~~~~l~~~~~ft~~3~~~~fft~~~s1



                  F~cecuYed as a deed on ~~I1'~~~'Jt'a ~                 ~Q O 9          (.
                                                                       {Insartdafe) t~B~r4 J

                  Signed,sealed and delivered by ~~ ~ ~EPh'z~t1`
                                                                                                                    SHK Group staff cams and NoJSHK Cxaup Ilcensed
                  Applicant's Signature':                             Witness Signature*:                           reprexentatire name and CE No.:

                                                                                                                     ~p;liif~'!



                            ~'~ ~ y~                    ~.s.             ~~~~4%                                             Il        Lrl    .L i `          iii! '~'r

                                                                                                          and ail matlnrs reiatkig to ft. xAl~.3ii~t~'~{it1$/1~~ ~ 4Ie~l~$F~2#~►~~~'4C
                  • The s10~~res shall be re~vrded as sPaGmen sig+~ature f'ar the purpose of the Accourrt
                                                                                                                  Certtflrail~ Delow. 3a~,2$A~~€~~1~~~~~/~ij~~~}~fR'~fF~'~~'i~1;l~F?~ffi'
                    N the witness is not an SHK group Wa!G`SHK Group licensed reQtasanietiva. FleaSe si~tn In the

                                                                                                                 memberAicensed representative of SHK Groff)
                  CER'F`IfICATCON (io be cotrtpiefed vfien Accpunt Applica#ian not signed before a stag
                  #~~ (~G]G7~~s"1f~~2~€~S~r~~6h1i~~/~I~1f~~?i+1~~ ~ f111k~#11)
                                                                                                                            {prectising)lriotary publiGSFC licensed or
                    am a' Justice of the Peacelbranch manager of a licensed banWiawyericertified pubtia accountant              v+ritten in this Saciion F, this Accourrt
                  registered person accred'+ied  to the intermediary named    below. I  hereby certify that on the date above
                              was a~teCuted by  the Applicant named  in this Account   Appllca6an (who   had been  previously identifred by production of the original of
                  Application                                                                                         Applicant was affixed to this Account Appilcation
                                                                                                     seal of the
                   his/her Identity Cartf or Passport(detailed above)to me) before me and the common
                   in my presence.
                                                                                                ~~ts``~ff6J.t ~ ~1.~~~ : fifikX.t~z
                   ~AIJ'j:t/#~t'~~ii'J3f~i~~/fi~~/#~t~at~6/^s~J./~L~-Fr~fr#~~i~q~Si`[~AR~~~~#~l
                                                                                         T~~'t53~~b3€~ (8~~.~7~') ~~4'~#~'~)
                   ~Fs~~If$AJB~~'(~ '~~F~~TS~~f~Fs~~F~`i#~$~J~~'t.l (~~"IS}G~(~7~J.tti

                    Pisase delake as appropriate ~~ia~~~~




                   Signature of the certfier ~~,1~~                                                               Date p~



                                                                                                                  TiUa {please prinf)
                   Name of the certi5er(please print)




                   CE No. otfhe certifier (i# applicable]




                                                                                                           applicable)
                    Name and CE No.of the intettnediaty to which the certifier is accredited ('rf
                    a`a~9,1..~~q~ft~1~~~PtFfi~l'~"e~R {#~t1~i~)


                                                                                                                                  3HK Account Applicatron (Individual) July 2073 Edition



Confidential pursuantfo Securities Exchange Act s.24(d}.                                                                                                                          SEC-HKSFC-E-0000272
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               Declaration by s licensed person accredited to the SHK Company
               ~1~`~t~~~a3~R~J.tII~
               i confirm that i have provided tha Risk Discbsure Staternerrts, Risk Disdasure Informatian (ff applicable) and US Trier RDS &Info (if appl±cab~e),
               in or accompanying the Client Agreement in a language of the ApplicenYs choice {Engfish at Chines),and have invited the Applicant to read such
               Risk Oisdosure Statements and (if applicable)such Risk ~isdosure Irtfwmat+on, ask questions and false independent advice if helshe wishes.
               ~.1~~8~~$.1~~h#~~o (~3r~ii~3~) ~~M~ie~~f~`~Ff~)~~i]~~ ~ ~~~b'cA#~~~(~~~)Pac~~~n~E#~~~'~~P~~
               ~F~) ~ ~~ ~~6J.~~~/   t ~tAi~~)   fit' ~'.~~ ` #¢tY,~~P~~~~~7 .~.StA~~it~7~:~
               i hereby confirm that I have nqt engaged i~, and undertake that I w71 not engage in any activi#ies or have any formal or informal arrangements in
               place to assist the Applicant or dients of SHK Group to circumvent the account identification requirements in relation is the Foreign Account Tax
               Gompliance Aci o€the United States of America.
               ~.l~~t~~~).i~~~~ ~ ~~c~~~~~t#;~{~f7~~~~f~tp7~~r~t~~~~~r#~~1-:tfi~~fi~a"~l.~~fr~~5~~i~,~~~~~i~~FF
               ~~)~~(Fareign Amount Tax.Cnmpiiance Act)

               Fot Gash Secu~3tias Trad~g Aceaunt{s)and Margin Securities Trading Aceaunt(s)Only

                confirm tfiat I have explained to tha Applicant the RISKS bF TRADING IN EXCHANGE•TRADED STRUCTURED PRODUGTS (e.g. Derivative
               Warrants, Callable BuIUBear Contracts) and RISKS OF TRAQING W SYNTHETIC EXCHANGE TRADED FUNDS coritaiRed in tMe
               atmve-mentioned Risk Disclosure Statements.
               ~~b~~r7~~#J.*~i~€1~t:'L;t.k~i~i~~~ ~R~3~~if~ft~If~#~~i'~~imTs~17~Z~ ('~93~t7 ~ f;7~ a • ~~a) ~J —'~#@~ffi~~ 3~'

               For pnitne Securities Trading Accounts{US Trader) OnFy

               {I) I confirm that I have provider! the ISP Agreements(fined abave)to the Applicant and have im+ited the Applicant to read the terms contained in
               the applicable ISP Agreemerrt{s}. (II) I have provided and invited the Applicant to marl the US Trader Anti-Money Laundering Undertakings,
               Representations and Warranties. (III) I have explained fo the Applicant that SNKIS may, at.he Applicant's own risk, send the Applicants Access
               Codes(as defined in the Client Agreement of SHKIS)for US Trader to the Applicants email addresses) spscffied in Section A of this Recount
               Appiica8an and 1 have expta3ned ttfe risks associated with tha sending of the AppGgnYs Access Codes for US Treder to the ApplicartPs afaresa+d
               email ~dress(es)(including, without lirrtitation, the risks arising from the unrei(able and public nature of the Internet which may cause incorrect
               information transmission or loss of confidsntiality of the information transmitted).
               (13~J.~J.HrI~~J.#~~~~~~#~!~€~t~~(~~t1~) ~~~~~l~f~~[~~i~~~~ll~~t~~Gp~7~E°(~~)~J~.~~t~~t~$~
                 J.~n~~~:~c~$~~~ ~'.1~~3~'i~~ ^ t~~~}~.18~11~J.~#t~ :#t~~, 1.~~~#!~-F •~1"r7~~~~A1r`I~~1#~1~5C"~,#~~~
               ~,~r~~#~~~7~~t~~)~f~S~~~F~aiS~`ca.~~9f#~~~1~~,18:7't~~t~h~~.I~BAH~~~5h~7~~i~~~~~~J. n~~h
               '~~fLfit~*~~~~~ (~#p~~B~~'I~~+~A~1~~3'~7~c~;~~1~ ~ i~'~f~7~~~1~l~Ti'~~~~~iPfA~3~~~~~s~7~t~~'h~~hr~~
               91)
               ~a~ Stock Options Trading Rccnunt{s)Only
               ~3~~~~~€3~~~~
               t confirm that 1 have d~cussed matters relating to options with the Applicants and based on the information provided, i believe that the Applicant has
               suffigent income and liquid assets to meet his/her obligations in respect of the options activity proposed and that such activity is reasonably suitable
               for tfie Applicant.
               ~
               pp~1~b~~d~~~l—'G
                    /y     y t ~$          p ~~y~~,~~~'fi~$~Pff#~~~gf~ * ~~1~110~~~~~rg~?1liCJ~Pt;',r~~b~F~`R~f~]'~~#~~1[.~~b~'1~
                                ~~1.~~y~~ q~
               tpL~lz'~3Rh~lCAL~TT~'A 9l~~3U °


               For OTC Swap Accounts)Only
               a~~~t$4F##~$1~~
               t Confirm tfiaY I have e~lained to each Applicant the risks associated with over-th~rounter darivatNe transactions fisted in Second Schedule {Risk
               Disclosures} of the QTC Swap T&Cs {individuals).
               ~.16~~~.1~i7~~"si~J~P~1~~~F#~P~El~~l (~J.) ~)t~1~2(~,~1'~) ~P~iJ~9~463~~,'r,T~,~~,~~~~,~a




                                                                                                             ---r
               Signature of licensed person 3~Ir~1.~~                  ~~_ ~L1~(
                                                                               j~~.                Date p~
                                                                    'i       t




                     ~r~.JC~ S~/~ C-i G~11                                                                      ~~ ~`~
                Name ofi licensed person {pJaase prinfj                                            CE No.(please print)




               Dacumentat3on chocked by 3~f~~}J. =              ~e~




             SHK AccountAppiication (individual) July 2013 Edition

                                                                                                                                                                SEC-NKSFC-E-0OflU273
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                                                                                                                             specficaliy authorised orally/in writing by
                  (1) The Account is a nan-discretionary account which means that every trade conducted in it must be                                            andtor
                      ttre Applicant or, if app~icabie, any persons)duly authorised by tha Applicant pursuant to this Account Application, the Client Agreement
                      the OTC Swap T&Cs(Individuals).
                         ~~~#~fti~~~        • Pi#~F~~~3E~tL~i~~~J.-     atc#f~#~~~~'~a~4*~ ~ ~I~~c/~~'~F#~3~lk:~q ti~.l) 47~~—
                       i~t~3fstTA'~F#~~€.~f (~~t~)  ~ L~Q~~'c~~}~s~ ~tt1~7~:~#~#~ ~'~~~rr3~~
                                                                                                                                          from time to time. Unless
                  (2) Save for Clause (13) of this Section G, tfiis Acxourit Application is subject to the Client Agreement as amended
                                                                                                                                                   and understanding
                      otherwise indicated in writing by the re{evant SNK Company,the Qocuments shall together consMute the erttlre agreement
                                                                                                                         under the Documents. Terms defined in the
                      6etwesn the Applicant and the relevant ShiK Company in respect. of the matters contemplated
                                                                                                                                                        in this Account
                      Client Agreement have the same meanings when used in this Aocounf ApplicaGan (save where othervvise e~ressly provided
                                                                                                                                           Agreement and any other
                      Application). Save for GaUse {13)of this Sec6an G, in the event of any conflic# ar irn;ansisteticy between the Genf
                                                                                                                                                Agreement and ocher
                      document entered into between the Applicant and the relevarrt SHK Company and this Acxount Application, the Client
                                                                                                                                    of Such c~nnflici or inconsistency.
                      any document ent~~ into beiwesn the Applicant and the relevant SHK Company shall prevail to the eutsM
                       d~~~~,C13}1~€9F'~~~'~a`~~TTJx~r~~r~Js~~f{~ (3s~[~~`R*~,~~aT~) Fft#~B~ ~ &'~~~~~$ft3.~~![:~3'~~$~a~cT '~'~~1Xf~l~—~
                       #1kh~~~~Fh~~~~h'~~'c~~~Pdl"e,~sLf~~r3~~.~'7~~6t~~Pt9fi1#1~t~'.~ ° ~~~+~~~p7rf,~~~~$~~Ft~z~~r~~$~~#@~I       ''~~~~
                                                                            g~{13)1~~F'{I~S~'.i'~~'~i5~~$~f`~~C~n~'~a~~~~f~l;—          a1.~~{~"IpT~~~
                       t~~~~f.~~~~~~'~c(~9§3~~T~i'E) °~#~3~G7~°
                                                                                                                                                     ~~'~I`~~~~ °
                      ~~s'~~c~~1~7~`~'P~'~`~~,~L~'~lX'~~'~s`~~iZ~{~~SL~S~'~~~~~i1:~~.~L{~'~~'t~S[{~~ ''~.A.~C~;'~~'7
                                                                                                                       in       Account App#icatian to Hong Kong
                  (3) The 5HK Company will not aufomaticaUy release the Applicants name and address as supplied ti~is
                                                                                                                          listed issuer(sj. A separate authorisation
                      Securities Clearing Company Limited for receiving corporate communications directly ftom a relevant
                                                                                                                                               purpose.
                      {as specified by the SMlC Company from time to time)to SHK Company signed by the Applicant will be required far this
                       ~7"r~~L?~~~~r3!l~~~~~Fr~~~f#~~.~~a`~J.~~,~it~t~t#m~~~FP52~~~~~7ht1'~~#~~it~A~.~r ~~~'rr#~#~~~`P7i~wFl
                       ~~h~~~rlttA77~frl~~!c`a1~AJE~¥fr~~l^.7~~#~~~~~#~~
                                                                                                                                    to this Account Application is true,
                  (4) Tha Applicant hereby dedaras artd represents that the information provided on, with, and 1 or pursuant
                                                                                                                                          to the SHK Company and the
                      accurate, complete and up-ro-date and that all action necessary to authorise the disclosure of such information
                                                                                                                                            Application has been taken.
                      use of such information by the SHK Company for any purposes contemplated under or related to this Acaaunt
                                                                                                                                                the SHK Comparry from
                      The Applicant hereby undertakes to prrnide such furtfier information as subsequently and reasonably requested by
                                                                                                                                  to notify the SHK Company promptly
                      time to time or otherwise required under the Client Agreement The Appiicarrt hereby further undertakes
                                                                                                                                  information for alI purposes until the
                      of any change to any aforesaid information. "fhe SHK Company is enticed to rely fatly on all aforesaid
                                                                                                                                          the Applicant. The Applicant
                      SHK Company is notified to the contrary in writing and any such written not3ficatian shall be duly signed by
                                                                                                                                                   information shall not
                      understands and accepts that unless othenwisa agreed by the SHK Company in wriiing, any change to any aforesaid
                      take effect until 5 days after the acfiaai receipt by Ute SHK Company of the relevant written notification.
                      ~J.'.I~A9P~~~F~~~#~f~ ~ 6~~IP,z/~#~~P~7F~~r~~h~7~~'a~~'*'                                '=~£~ ~ ~P~,~~3"r~'J'~.@.~#~~S2—f77~L~~17~b
                                                                                                                   t?~~~~~#
                       ~€#~~~Ia7~!"r~~i;~~~~f~P~h'~~r^„a7AT~r~~)~~~$~l~~i'i~~i~~~~hrTn~~~~,~~ ~ ~~J.~~~~t ~~~~3f~~'rx
                       #~F#t#~~~5~~~ ~ ~H~(~ll~hi4^~#~i#~~~i~~ ~ ~~~1~~~3u~17~i~~I~f?~~!~:~f~fai~i~~~~t~fipJ~~ ~~ Ato~i~~~
                       al#lf~~flLY#~~~i.1~1f~17~~ ~ ~~9~r~~2:~~"#~€Tc~f3~~at~r~~3z~~~i'~—~.JF~i~h`if~f1~~~~z~#us~F.~~     t~~~
                       ~1.~C-iPc#~x ~ Pr~~~~f~'r;~n~~~fp7~ • ~~~ft~fpt~T~~kJf~i7~~ ~ ;R~~;`~ft~~'u`PJ~~fP~ff~~~~~i~~31Q~~
                       ~"~~~it
                                                                                                                                     to execute ail documanis and
                  {5) The P,pplit;ant hereby irrevocably and by way of security appoints the SkiK Company as hislher lawful attorney
                                                                                                                                          to   in furtherance or as
                      do all things which the SHK Company in good faith cons9ders necessary end which th8 Applicant ought reasonably do
                      a consequence of the terms of this Account Application or to perfect any security given by the Applicant.
                                                                      aJ~f~~A~~~f2~h~A7~h'~X1~ ~ .~ih'if~tti~lr~~i~ ~ rTa~3~f#Pc1~t~iT5~it3~~'~?—                ~
                      ~~IfJ.~~7#~t~~~lti~s3f;iC~t~~tfa&~2;=
                       ~~i~~~(~'~'o~~I'S~'{'~`~'L:1.~~~~~i~~{~'I~Iit~~(TAI'~~'l:~nff(7~G$z~1~Et3~J#~#~~lX'N#~~4~
                                                                                                                            the laws and regulations applicable to the
                  (6) The Applicant should familiarise himself I herself with and, where applicable, take a8vice on
                                                                                                                                             residence and,'rfappbcable,
                      su6scriptia~, holding ark reaiisatbn of the investrnents in respect ofthe Acxount in the place of his / herdomlcile!
                                                                                                                                            his! her sole respansibiliiy to
                      aH other relevantjuri5dictions. Ths Applicant hereby wa~'ants and represents and undertakes to ensure(and it is
                                                                                                                                                        he!she is lawfully
                      ensure)that under the laws of the place of his !her domicile / residence and, if applicable, all other relevant jurisdictions;
                                                                                                                                    Client Agreement;to enter into such
                      entitled or permitted to open and maintain the Account with the SHK Company subject to the terms of the
                                                                                                                                  the terms of the Client Agreement and
                      transactions, and to hold such assets, as contemplated under the Client Agreement and to comply with
                                                                                                                                                  up to and including the
                      such warranties, representations and undertakings to the SHK Company are deemed to be repeaY~ on each day
                                                                                                                                     of     relevant SHK Company shall
                      termineUan of the Client Agreement of the relevant SHK Company. Termination of the Client Agreement the                                          prior
                                                                                                                                    such Client Agreement init
                      no# affect any action by the relevant SHK Company or any of its agents o~ any third party permitted under
                                                                                                                                             Applicant undertakes io pay
                      to the date of termination or any indemnity or warranty given by the Applicant under such Ciisnt Agreement. The
                                                                                                                                       andlor maintaining of ttie Account
                      all taxes, charges and other amou~is, directly and indirectly, arising out of or in connection with the opening
                                                                                                                                               with tits terms of the Client
                      andlor the entering into the aforesaid trensactiorts and/or the holding of the aforesaid assets and/or the compliance
                                                                                                                         Cia~xse (6) and the SHK Company is under no
                      AgresmenL It is the sole responsibility of the Applicant to deal with any matter related fo this
                                                                                                                                                       the SHK Company
                      obligation to take any action in rel~6on to any such matter. Shoald the RppCicant r~uve any reasonable assistance from
                                                                                                                                            ail the costs, fees, charges,
                      regarding any such matter, the SHK Company may, in its absolute discretion, render such assistance and
                                                                                                                                    or in t~nnection with rendering such
                      expenses and other amounts thereby incurred (including any service charges of the SHK Company for
                                                                                                                                                  in this Clause (6) and
                      assistance) shall be solely borne by the Applicarrt who untiettakes to pay the sart~. Notttithstanding anyth[~g
                                                                                                                                   regarding the same matter or not), the
                      nohwithstanding the SHK Company may have rendered any assistance to the Applicant before (whetfisr
                                                                                                                         assigning any reason therefor, refuse to render
                      SHK Company may, at any time, without liability to the ApQlicant or any third party artd witlwut
                      any assistance or further assistance (as the case may be)to the Applicant
                       ~~~8lf~#~~t~F~~/f~~1~F~ C ~~`~~) ~ FJF~~$6#~~~J~~~`~~~~~:'~f~.~~,~iF ~ #~~Pt~3~#$~EYJi#.~1~~~1~~F~fl#
                       ~~~$~~.~ ° ~a~`rJ~~1~s~ `'~A~3~'t~z~i~ (T~'t1ftT5~3~~~J~f~~i~) ~~~F~~/~~t~F~t (~~F~) ~r~~4ta#~'~~~'~
                         ~~1;~~ ~ ~7'~Ai~~~~~a~~~t~~~t~~{~'fi~~-F~~3"r'~`~~~~#~~s7iL:                   n~#~~~~~~r~~3~~7s~5~
                       ~ ~ L~P~c~~`~~~,~~7~ ~ ~~ ~ ~~rl~h4~~tii~7t~~a,fiE~3~~~#~#~~~~ 81'~tti ~ ~~3~~,#~#~~~~~~7~~i~a"~i
                                                                                                                     ~rK~~of~~~
                       ~t~~lt ~ #~~9~f'r3s;~~J~}~t~~~i~ ~ #~T~~~~t~1~~ a~~~frJ~~uaJ~~t~17f~.l~t~ioJ~-~:~
                                                        F3~~~f~fT      ~f~~     ~ ~.l~~x~~~ 1#~~~~fi: P~ir~/~~4  ~~kc/~~r3    ~~
                       P~~~rrlfh ~ ~'F~~~~~J.~~~F~t~~-                                                                  (sy~&5#~
                       ~3~~P~e/.~"ic~~~z~~7i~~3~/~~~F~F~t~~7~rm,~~~5~fr~~R~ ~ iff~P~i~~~ _ ~TS~:I~~&~7~t~~S~~4tit~~
                                                                                                                i ~ ~ft~'~p7~L;t
                       i7~~ ~ ~f71~~'~P1~t;~~itf~~f{~fp7~~~~#~~Ri~171-"rs~b ^ ~~.1~~f7~~~9P~~~ff~~i:~~f~fp7A~~~

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               {7) The Applicant confvms that unless otharxise indicated in this Account Applig6on, ha/she is ailing as principal in relation to the Account.
                   ~s~J.~~i~`~'(fDa ~c~~~l:%~~~~b~s~2~i~~~T • ~T`Jl~~~~.~}'~1'T °

               (8) Tha Applicant confirms that he/she has read, is aware of and undersEands the terms set out in the Forrn of Options Inforttta6on Statement,
                   bisclaimer in Relation to Trading of Sock Index Futures ContracKs, Disclaimer in Relation to Trading of Stack Index Option Contracts and HK
                   Exchange Disclaimer in the Client Agreement {Th(s Clausa (8)(s applicable to the Applicant if any Accourrt, once approved to ba opened, is
                   governed by the relevant ClierTt Agreement comprising the foregoing documents.j
                    ~J.~~BI~~ ~ ~A~~~$~~~Ft~,~1~~#f~~aA~ `~~~~AAm#~~~5~~~3t~~'~"~~~~~t~#~~1~~~~Y
                    ~~3~~n~Jf~Et~~ t fa)~if-~~:~~J~ti~ t —~~~;~88~t) i~~~$~7~3~S~k~~A~~Is~F~f#~7)
               (9) (i} The use of online trading services, specified at page 1 of this Account Application, shall be in accordance with SHKIS', SHKOS',SttKB's,
                       SHKCOM's and SHKFX's Client Agreernant respectively and such other applicable terms as may be designated from time to time by
                       SHKIS. SHKOS,SHKB, SHKCOM andlot SHKFX. Depending on the chase of the Applicani indicated by ticking the appropriate box{es)
                       for any one or more or ail of the aforesaid online trading services{"Chasm Electronic Services"),the Applicant agrees to use the Chosen
                       Etsctronic Services on such website(s) as designated by the SHK Company from tlme to time and in accordance with the applicable
                       documents) and terms above meniianed in this Gause (3)(i) ("Appitca6le Documents" for the purpose of this Clause (8) oMy). Ths
                       Applicant cor~imts the#the retsvant terms aid condftians set out in the Applicable t?ocuments, as we11 as kfie related risks sat out therein
                       and in the Risk D(sclosure Statements {"Risks")have been e~lained to himJher. The Applicant confirms its understanding and acceptance
                       ofthe Risks. The Applicant agrees to use the Chases FJectranic Services in accordance with tfie Applicable documents.(This gause {9)(i)
                       is only applicable to the Applicant who hes ticked the appropriate bax(es)for the Chosen Ele~ronic Services at page 1 of this account
                       P,ppiirztion).
                        ~~~~~~~r~~lr#~~~5~~3~~,~'c~~~p#~~fr?*~~f ~ ~fi~~~~4t~ ~ ~h~~~ ~ ~if~~~~I.~~h7~~ih~~]~~t~~1s~Bf~fi~
                        L;tX~'i~$~3~~ ~ ~t~:~ ~ ~h~~`~~ ~ ~fr~~~~Pt/~r~~4F~7~3`~#~,`~~~d~~~31ct~f~ _ ~~~~.I~~z~~~'~ e
                       (9)1~`~~f~p'1—f5}~$'$33CY-kht~Fb~t (~~€~sC4'~~'(~'('~~~(9)$~i~) ~:~fri~k.~'1>>~~~#~~k&h-1~~'~~~~t~+~~L~#~#'y-
                       ~~ ° ~~~~~ ~ ~0~€~~ltr~~~~ct~~~3r~~llt£~5~~f~~T~f~~~:'~t~kF~,~~~a~c~~9~~#~~~~ (~~9~~) ~ ~   --i
                          .~lfi~P.:~~~V-9A8~i13~C~~.~°~~,1.~7~$~~i~~3~L{'~{~~~G~~`+~~~~~ ~~~{9)(i):?9~~~a~~~~~~t~~:L"x~#~'~~


                    (ii) The Applicant cansanls to receive all relevant canVact notes, daily and monthly statements of account, confim,ations and the like
                         {cWlectively, "Advice" for the pstrpose of this Ciausa {9)only) to be issued by ifis relevant StiK Company by means of email to the ema31
                         address{esj provided in Section A herein above 'rf this Acca~nt Application is approved by the ~eievant SHiC Company. The Applicant
                         hereby ac#cnowiec~es that the Intemei or other electronic medium is an inherengy unreliable medium of communicating and that such
                         unreliability is beyond SHK Graup's control or anticipation. The Appiicani agrees that SHK Group shall na# be responsible f~ any loss,
                         damage,costs,e~nses,claims or liability of whatsoever nature, dirediy or indirectly, arising out of or in connection with such unreliability
                         m tl~e public nature of the Internet or other electronic medium or any other cause beyond SHK Group's control or anticipation.(This Gause
                         (9)(ii) is only appbcable to the Applicant who has se4ected "Email` as the delivery msihod in Section A(74). However, if the A{~piicant is
                         required to compieie and sign an Appiicatian for ElecVanic Services far the purpose of receiving Advice (defined above), the terms and
                         conditlons in such Application for EIecU~anic Services shall supersede this Clause {9}{ii)).
                        ~~~~~E~3~~t#~~~ra$~1:~F~r~%~ ~ ~si~I~F7~~i:'Ld~~P~F~si~Az~~fr#~~~'~~~4~1~1~t~fi~li~~~~r7S~'s:aJL:t'~~~s't
                        a~'~.~~r~~~.'~~3~.~.~ ` ~ ~~a$g a~~~w~ ` i~~ul~Ptl~'~X1'~ {{~c~~~(9)$~c~~~' *~ ~.i~361~ ~ ) ° ~~fJ.~ltt~3
                        ~~'~{~~y"~J'~'~~TJ'~`7~~i~n~{~c1~''f~0°a~'f`~~k'~J~~~f~~.~~T~~~'~G~~~'~a"l~.~~7~'~~~~~~~~~~~:

                        ~c~~i~ (IT`AE{~i~#~~) '~F!'3P~~~—I~~'T'~f ° {~~(9){ii){~.~'.~~~`~tA(14)~8~~ ~~i~ ~+~~77s~~~l.°{~~
                        ~~~1;~k~t1~f(~?~.~> rTa~~~~~'~~fi~~~i~€ ~ ~3J~~~~~~~~€~r~i~f~~zRif~t~lf~~f~~~(s){~~)f~ ~ >
               {10)The Applicant confirms the receipt pf, and understands and agrees to the terms of SHK Group's policies and practices relating to the use of
                   personal data either attached to this Asxount Applicatiar~ as the Statement of Practice in regard to Personal Data {Privacy) Ordinance or
                   attached to/provided in the Cilent Agreement and/or the OTC Swap T&Cs{Individuals){as the case may be).
                    ~B~~~E~~it~QX~P~i~~tl~~~r~~~~~~J.~{~f~~~3i~Tfi~i{§9~~t ~ ~~tc`(~~~~f~u~~7~tr.~fl.i~¥~ (~L.b,~) {~1~~
                    {~3~~ga~la~~~i~/1~tr:~~t~P~'~~4F#~~{~~~~~~i t~~C) (~fii:5t~~)
               {11) By not objecting to tl'ie use of hisJhar personal data for direct marketing purposes by 5HK Company in Section F, khe Applicarrt expressly
                   consents that the SHK Company may at any time and from time to time send to himlher by telephone, ernaii or other electronic means any
                    messages relating to services or products vrhich, in dte opinion of the SHK Company, the Applicant may be interested. The Applicant may at
                   anytime request not to receive such messages from the SHK Co+npany by sendirrc,~ an "unsubscribe' request to the u~subscribe facility
                   specified in such messages or 6y written notice to the SHK Company at tfie address stated at the front page of this Account Application or
                   such other add~ss as ihz SHK Company may subsequentty notify from time to time.
                    ~s~~~.t~`F~~T~~#~tf~~z:AJf~~~{#~l.~~lli'~~#~#~Af~~~ • ~~~~~3~~I~~~tt3Ps~!c;7pJ~~7~fi~'~a~ ~'~!~~~
                    f~7~~~t~1~J'~~~8~i~l~if~~s:~~~~AJ~~~~~~~'cd~c'~~t~. ~ ~$~J.~I~$A~~~~, ~f~'~;~~~it~~~i,~~~7~st:~#~~il~
                    ~i3~iE~~~t.~~9~tF#~~~#~~St~~ • ~lt~f~~~1~~~~~~~#~'~~f~r~~i~31t~~fr~~1'.~~~fi~l~r'Gf~~#ft~iti~t ~ ~o~~c

               (1z) The App+icant hereby agrees to i~emnity, on demand, the SHK Company (on a fui! indemnity basis) for all losses, costs and expenses
                   (including legal costs] and liabilities of any nature whatsoever suffered or incurred by the SHK Company In reliance on any information
                    mentioned in Clause (4}of this Section G or in consequence of any fa~ure to provide any such information in a ttmety manner or at all by the
                    Applicant ~,directly or i~directiy, arising from of in connection with the SHK Compan~s actor inactlon in relation to this ;0.ccount Application
                   (except for any wilful rnfsconduct on its part), or any act or omission of tt~ Applica~tt {whether or not constituting a breach of any provision
                    contained in this Account Applicat~n)_


             SHK Account Application (Individual) July 2013 Eck6on                       10

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                                                                                        .'L~1~~f'~~P~~~~~.>~~~St~~)~~~J~T~~Ia~~'~{~~
                      ~~~~7~~~~.`.}~.~~ ' .~T?~~1+~ ~~~~~'~~~) ~'~~~G~~.(d)i`~~li~i
                                     ~~b.,~G~tY       n
                                                ,~~f~~L..a~P~, ~~~~~~~~ 1'7~IF.~ ~17~J t~~~'~`~'l7~~lF~ ~~~~~~'~'f7~J~'~~ ~~~1
                      ~~~'~~~G~~P~E.
                                                                                            ~~A'cXt3~ (~#u~~i^~`~~) h't~f~                                       ('(`~l~4i~17
                      ~Hff~-7~`z~~~~~~a~~l~~F(11l~.~1~~{~S~) fiDz~t~~2:=a1'~A~~~~J~f~#~~c`f

                                                                                                         Application oe any other document, this Accaurrt AppGcatiori
                 (13} Notwitl~sianding ~yihing to the conGary which may be contained in this Account
                                             approval of the SHK Comparry (wfiether with or wid~out furthee conditions)anti the SH}C Company shall not be obiigQci to
                     (s subject to tha final
                      give any reason for not approving the   same_
                                                                                                               fl'~~~(~~~~~t~f~) ~ f~J~ ~ ~J"r~~'s~Al
                      ~~~~~~~f~~#4~3Tf~~~~~'aT~ ~ ~~~~~f~~.d~#,~~~'~~~l


                 (14) in this Account kppiication, the following terms have tfie Following meanings:
                     tF.~6A~~~ ~ lX-F~~.~kl"F~
                                                                                                                  devices, IVRS services or o#her fwm of elecbonlo services,
                     "Appiicaticn for Electronic Services" means an application tar intemef, moblle
                      tF~e contents and  fwm(s)   of which rriay be specified by SHK   C~rnup  ftom  tirt~e to Gme.
                      ~"R~~~~6i1#~ #~~R~~ ~ ;~~Ih~{iiP ~                  'I~~~~ite3f;s~~~~~~~~~1# ~ #P9~7s'r.#Bz~E~3¥(r#IF~~~#~~
                                                                                                                                                                    and, where
                     'relevant SHK Company' means             the company{ies   } of SHK Group which agrees) to open and maintain such accounts)
                                            sucfi services, with or withart further cantlitians, as notif~d    to the Applicant by such company{ies} in writing.
                      applicable, provide                                                                                                                                )(~
                      ~ #61~O~t     s^..~ ~ ~~~lE~dh--~fl~~~1~11^..~7 ~ tTn                ~s'ICJ:l~f~i~S~~~f l~AicTs'i# ~#3~~AFfr#~~J--1~~~1 ~~ (z~
                      a~~#ii~ J                    ~1lB7~~
                                                                                                                           of the Laws of Hong Kong)(as amended from fime
                     "subsid5ary" bears the same meaning given to it under the Companies Ordinance(Cap.32
                      to time).
                                                                                                                   Off~~i:aJ~~BI~~°
                     'E{#~1^a~~ $~ ~la~~{§~) ~~.~i~32) (P>C~~T`A*~fsT~) ~~`ff~5"~~
                                                                                                                  assoaated   companies 'rf orts is a subsidiary of the other, or
                      For the purposes of this Amount Application, iwo companies shall be taken to be                   accordingly.
                      both are subsidiaries of a ifiird crompany, and `associated company" shall be construed
                                                                                                                   {~~~i~~;~H§~t~1:7 ~ ~~~~~'y`a7~a~~~l~k'c:
                            ~F~~{'~rTa€ ~ #dl~~c:plf~~,~—~~~—I~A'J~~i?A7 ^ ~fi~~~^~

                                                                                                 in the sirTgular shall include the plural and vice versa; all references
                 {15) In this Account Application, unless the context otherwise specifies, terms             be to the Sect~n(s)pf this Account Application.
                      to any particular gender shall induda all genders; and references to SecHan(s)shall
                                                                                                                 1 ~ RE7~t~/~T`1~~A~F~~o~f~~~~/~ °
                      ~t~~i5~~ + ~i~t~a`~' ~~1lk~p ~ ~z,L7F?ki ~ #~~—~'~4~tl~~ ~ ~#€F~f~'M~fl~




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                 '* A PEP is defined as:
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                     To                                 Cred it Dept/Branch operations
                     Frorn                              Macau Branch


                     Subject                        Iden
                                                   -~t         of ML&T in Account C)pening & CDD
                     Reference                      MC 'v,~-o !2014
                     Number of pages: 1

                     SHK A/C No.                   Name ofAccount Holder s)                            Name ofiTlrimate Benefici        ofr oc A/C holder)
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                     TFB Sub A/C No.               Name ofAuthorized Person{S)                         Name ofAuthorized Third P
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                     As a SFC licensed gersun, I declare tt~aY I have checked the name of above aceoimt holders and related persan(s} against
                     List maintained b Credit     ,which ezn be accessed via S      Intranet website.                                   '  ( !cast circle
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                    1 have also collected the true copy of below documents for the company's r~rd: (pease rick,ieany>
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                                         or Credit Dept crnmnant:{if any)      T~( )—Require En.CDD(              )




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          Case 1:16-cv-09947-VEC Document 13-10 Filed 12/30/16 Page 33 of 36




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         Case 1:16-cv-09947-VEC Document 13-10 Filed 12/30/16 Page 34 of 36




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